Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Document Page1of13

ETL MTRM UAT EDE CGO WED FALECODE COMIC (CTT ET AUN O Lt Gre em For amended plans only:

Debtor 1

Debtor 2
(filing spouse)

[¥] Check if this amended plan is filed

IN THE UNITED STATES BANKRUPTCY COURT prior to any confirmation hearing.
FOR THE EASTERN DISTRICT OF TEXAS

[_]Check if this amended plan is filed in
response to an initial denial order or a
continuance that counted as an initial

denial.

Leanna Marie Castillo

First Name Middle Name Last Name List the sections which have been
changed by this amended plan:

First Name Middle Name Last Name

Case Number:

24-40047

TXEB Local Form 3015-a

CHAPTER 13 PLAN

DEERE Notices

To Debtor!:

To Creditors:

Adopted: Dec 2017

This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be
appropriate in some cases, but the presence of an option on the form does not indicate that the option is appropriate
in your circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the
master mailing list (matrix) of creditors as constituted by the Court on the date of service and evidence that
service through a Certificate of Service affixed to this document that attaches a copy of the matrix of
creditors which you served. The most current matrix in this case is available under the “Reports” tab of the
CM-ECF system.

Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
do not have an attorney, you may wish to consult one.

If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an
objection to confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date
set for the plan confirmation hearing. That date is listed in J 9 of the Notice of Chapter 13 Bankruptcy Case issued
in this case. The objection period may be extended to 7 days prior to the confirmation hearing under the
circumstances specified in LBR 3015(f). In any event, the Court may confirm this plan without further notice if no
objection to confirmation is timely filed.

Regardless of whether you are listed in the Debtor’s matrix of creditors or in the Debtor’s schedules, you must
timely file a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in § 8 of the
Notice of Chapter 13 Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the
Trustee’s next scheduled distribution date after the Effective Date of the Plan. See § 9.1.

The Debtor must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set
out later in the Plan.

1.1 A limit on the amount of an allowed secured claim through a final [_] Included [¥] Not Included
determination of the value of property constituting collateral for such claim,
as set forth in § 3.10 of this Plan, which may result in a partial payment or
no payment at all to the secured creditor.

1.2 Avoidance of a judicial lien or a nonpossessory, nonpurchase-money _] Included [¥] Not Included
security interest, as set forth in § 3.9 of this Plan.
1.3 Potential termination and removal of lien based upon alleged unsecured [_] Included [¥] Not Included

! The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Debtor__ Leanna Marie Castillo Document Page 2of13 Case tamer

status of claim of lienholder, as set forth in § 3.11 of this Plan.
1.4 Nonstandard provisions as set forth in Part 8. [| Included lv] Not Included

Plan Payments and Length of Plan
2.1 The applicable commitment period for the Debtor is 60 months.

2.2 Payment Schedule.

Unless the Court orders otherwise, beginning on the 30th day after the Petition Date? or the entry date of any order
converting this case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the
applicable commitment period and for such additional time as may be necessary to make the payments to claimants specified
in Parts 3 through 5 of this Plan (the “Plan Term”). The payment schedule shall consist of:

[_] Constant Payments: The Debtor will pay $ per month for months.

[¥) Variable Payments: The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for
such variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.

2.3 Mode of Payment. Regular payments to the Trustee will be made from future income in the following manner:
[Check one]
[_] Debtor will make payments pursuant to a wage withholding order directed to an employer.
[¥] Debtor will make electronic payments through the Trustee’s authorized online payment system.
[_] Debtor will make payments by money order or cashier’s check upon written authority of the Trustee.
[_] Debtor will make payments by other direct means only as authorized by motion and separate court order.
2.4 Income tax refunds.

In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
required to:

(1) supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to
the Trustee within 14 days of filing the return; and

(2) remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan
term which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up
to $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee
under this Plan at the time of the receipt of such tax refund.

The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during
the plan term.

2.5 Additional payments. [Check one]
[¥] None. Jf "None" is checked, the rest of § 2.5 need not be completed.
2.6 Plan Base.

The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is $60,060.00 which, when combined with any income
tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds
received by the Trustee on the Debtor’s behalf during the Plan Term, constitutes the “Plan Base.”

Treatment of Secured Claims
Post-Petition Home Mortgage Payments. [Check one]
[_] No Home Mortgage. /f “No Mortgage” is checked, the remainder of § 3.1 need not be completed.

[_] Home Mortgage Maturing Before or During Plan Term. /f “Mortgage Maturing” is checked, the claim will be
addressed in § 3.4. The remainder of § 3.1 need not be completed.

[¥] Direct Home Mortgage Payments by Debtor Required.

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 2

Debtor

Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main

Leanna Marie Castillo Document Page3of13 Case number

On the Petition Date”, the Debtor owed the following claims secured only by a security interest in real property that is the
Debtor’s principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims
(other than related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition
contract, including any rate changes or other modifications required by such documents and noticed in conformity with any
applicable rules, as such payments become due during the Plan Term. The fulfillment of this requirement is critical to the
Debtor’s reorganization effort. Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan
Term may preclude confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may
preclude the issuance of any discharge order to the Debtor under § 1328(a)°. The Trustee will monitor the Debtor's
fulfillment of this direct payment obligation ("DPO").

1. 5225 Prairie Creek Drive Flower Mound, TX $2,000.00 | Ist
Loancare 75028 Amount inc:
Residence: Single Family Residence [vl Tax Escrow
[¥| Insurance Escrow
(-] Other
3.2 Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

(J None. /f “None” is checked, the remainder of § 3.2 need not be completed.

[¥] Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon
obligations arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this
Plan. While remaining current on all direct payment obligations (future installment payments) as each comes due under the
applicable contractual documents during the plan term (a “DPO”), the Debtor shall cure all such delinquencies through the
Plan as listed below (a “Cure Claim”). Each listed claim constitutes a separate class. The total amount of each allowed Cure
Claim will be paid in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based
upon the projected amount of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is
established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of
claim, or the final determination by the Court of any objection thereto, shall control over any projected Cure Claim amount
listed below. No interest will be paid on any Cure Claim in the absence of documentary proof that the applicable contractual
documents entitle the claimant to receive interest on unpaid interest.

If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay
termination. If the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be
released to the holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that
the stay termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall be
released for distribution to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under
applicable state law procedures and will no longer be treated by the Plan. The completion of payments contemplated in this
subsection constitutes a cure of all defaults of the Debtor’s obligation to each listed claimant.

2 The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.
3 All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 3
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Debtor__ Leanna Marie Castillo Document Page4of13 Case number

1. 5225 Prairie Creek Drive $2,000.00} $19,065.20 | 0.00% $317.75 $19,065.20
Loancare Flower Mound, TX 75028
[_] Debt Maturing Residence: Single Family
During Plan Term. Residence

[¥] Debt Maturing After
Completion of Plan
Term.

[_] Curing Assumed
Executory Contract or
Lease Obligation
Pursuant to § 6.1.

2. 2014 Lincoln Navigator L $511.14| $19,942.67 | 0.00% $511.14 $19,942.67
Capital One Auto Utility 5.4 L V8 automobile
Finance

Debt Maturing
During Plan Term.

_] Debt Maturing After
Completion of Plan
Term.

[_] Curing Assumed
Executory Contract or
Lease Obligation
Pursuant to § 6.1.

Insert additional claims as needed.

3.3 Secured Claims Protected From § 506 Bifurcation. [Check one]

[¥] None. /f “None” is checked, the remainder of § 3.3 need not be completed.
3.4 Secured Claims Subject to § 506 Bifurcation.

[Check one]

[¥] None. Jf “None” is checked, the remainder of § 3.4 need not be completed.
3.5 Direct Payment of Secured Claims Not in Default. [Check one]

[] None. Jf “None” is checked, the remainder of § 3.5 need not be completed.

[¥] Direct Claims. Each of the following secured claims are designated for direct payment in accordance with the applicable
contractual documents (a “Direct Claim”). The Debtor represents that each secured claim listed in this subsection was not in
default on the Petition Date and either: (1) is protected from valuation under § 506(a) and payable at a contractual interest
rate reasonable under the circumstances; or (2) should otherwise be approved by the Court based upon the justification
provided. Without all three representations by the Debtor, this subsection may not be utilized and claim treatment
must instead be addressed in § 3.4. Each listed secured claim constitutes a separate class.

Justification:

Insert additional claims as needed.
3.6 Surrender of Property. [Check one]
[¥) None. /f “None” is checked, the remainder of § 3.6 need not be completed.

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 4
Debtor

3.7

3.8

3.9

3.10

3.11

Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main

Leanna Marie Castillo Document Page 5 of 13 Case-nunjber

Lien Retention.

The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the
indebtedness secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a
lien securing payment of any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of:
(1) the total satisfaction of the indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2)
the entry of a discharge order in favor of the Debtor under § 1328(a). In each instance, the provisions of this subsection may
be superseded by a subsequent order of the Court.

Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this
Plan, the Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the
indebtedness or as may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be
retained by the Debtor under this Plan as they come due in the post-petition period. Such payment shall be tendered to the
appropriate taxing authorities in accordance with applicable non-bankruptcy law on or before the last date on which such
taxes may be paid without penalty.

Lien Avoidance. [Check one]

[¥] None. /f “None” is checked, the remainder of § 3.9 need not be completed.
Rule 3012 Valuation of Collateral. [Check one]

lv] None. /f “None” is checked, the remainder of § 3.10 need not be completed.
Lien Removal Based Upon Unsecured Status. [Check one]

[¥] None. /f “None” is checked, the remainder of § 3.11 need not be completed.

Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

4.1

4.2

4.3

General

All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full
without post-confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim
basis based upon the projected amount of each priority claim listed below until such time as the allowed amount of each
priority claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in
that proof of claim, or the final determination by the Court of any objection thereto, shall control over any projected priority
claim amount listed below.

Trustee’s Fees.

The Trustee’s fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant
thereto, shall be promptly collected and paid from all plan payments received by the Trustee.

Attorney’s Fees.

The total amount of attorney’s fees requested by the Debtor’s attorney in this case is $4,500.00. The amount of $2,100.00
was paid to the Debtor’s attorney prior to the Petition Date. The allowed balance of attorney’s fees will be paid by the
Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3
and 3.4 of this Plan.

The allowed balance of attorney’s fees to be awarded to the Debtor’s attorney in this case shall be determined by:
[¥] LBR 2016(h)(1); [] by submission of a formal fee application.

LBR 2016(h)(1): If the attorney’s fee award is determined by the benchmark amounts authorized by LBR 2016(h), the
total fee shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor’s attorney
regarding the rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee
Period outlined in that rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper
enhancement or reduction of the benchmark amount in this case without the necessity of court order. No business case
supplement to the benchmark fee shall be recognized unless a business case designation is granted on or before initial
confirmation of the Plan.

Fee Application: If attorney’s fee award is determined by the formal fee application process, such fee application shall
be filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 5
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Debtor__ Leanna Marie Castillo Document Page 6of13 Case number____

application is filed within that period, the determination of the allowed amount of attorney’s fees to the Debtor’s attorney
shall revert to the benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice
or hearing and the Trustee shall adjust any distributions in this class accordingly.

4.4 Priority Claims: Domestic Support Obligations ("DSO"). [Check one]
[¥] None. /f “None” is checked, the remainder of § 4.4 need not be completed.

4.5 Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]
Iv] None. /f “None” is checked, the remainder of § 4.5 need not be completed.

4.6 Priority Claims: Taxes and Other Priority Claims Excluding Attorney’s Fees and DSO Claims. [Check one].
[¥] None. /f “None” is checked, the remainder of § 4.6 need not be completed.

Treatment of Nonpriority Unsecured Claims
5.1 Specially Classed Unsecured Claims. [Check one]
[¥] None. /f “None” is checked, the remainder of § 5.1 need not be completed.
5.2 General Unsecured Claims.
Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:
[_] 100% + Interest at 0.00%;
[_] 100% + Interest at 0.00% with no future modifications to treatment under this subsection;
X Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified unsecured claims.
5.3 Liquidation Analysis: Unsecured Claims Under Parts 4 & 5.

If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority
unsecured claims under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be
paid an aggregate sum of approximately $56. Regardless of the particular payment treatments elected under Parts 4 and 5 of
this Plan, the aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan
will be equivalent to or greater than this amount.

Executory Contracts and Unexpired Leases

6.1 General Rule — Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED and will
be treated as specified in § 3.2 of the Plan. All other executory contracts and unexpired leases of the Debtor are
REJECTED.

[Check one.]
[¥] None. If “None” is checked, the remainder of § 6.1 need not be completed.

Vesting of Property of the Estate

wal Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence
of a court order to the contrary.

Nonstandard Plan Provisions

[¥] None. Jf “None” is checked, the rest of Part 8 need not be completed.

Miscellaneous Provisions

Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
nonappealable order.

9.2 Plan Disbursement Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in
the following order: (1) Trustee’s fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3)
allowed attorney fees under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 6
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Debtor__ Leanna Marie Castillo Document Page 7 of 13 Case number

§§ 4.4 and 4.5 concurrently; (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and
(8) general unsecured claims under § 5.2.

9.3 Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated
without the consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the
Debtor, or any attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any

authorized exemption claim of the Debtor, with the remainder of the funds dedicated as an additional component of the plan
base.

Home Sale Proceeds. Trustee objected to feasibility that inability to make payments will likely
result in a sale or refinance of homestead. To resolve the feasibility objection, the Debtor(s)
agree if they seek to sell or refinance their homestead through the Bankruptcy Court: (a) they
will move to approve any sale or refinancing; (b) the title company shall be deemed to have
received and distributed on the Trustee's behalf all amounts paid on claims that are to be paid
through this plan, remain unpaid, and are paid at closing; (c) If after the payment of mortgage,
tax, HOA, realtor fees, closing costs/fees, required repairs which such sale was conditioned
upon, then Trustee shall receive a fee on all the amounts received and distributed on her
behalf; and (d) the title company at closing will distribute to the Trustee her fee based on the
then prevailing Trustee fee percentage

Part 10: Signatures

/s/ Daniel C. Durand III Date May 2, 2024
Daniel C. Durand Ill 06287570
Signature of Attorney for Debtor(s)

/s/ Leanna Marie Castillo Date May 2, 2024
Leanna Marie Castillo

Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than any
nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions other than
those included in Part 8.

(rele Certificate of Service to Matrix as Currently Constituted by the Court
American Education Services

PO Box 65093

Baltimore, MD 21264

Blalock & Williams

Agents for Nebraska Furniture Mart
4851 Lyndon B. Johnson Freeway
Dallas, TX 75244

Capital One
PO box 60511
City of Industry, CA 91716

Capital One

PO Box 60519
City of Industry, CA 91716

Central Portfolio Control

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 7
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main

Debtor__ Leanna Marie Castillo Document Page 8of13 Case number

10249 Yellow Circle Drive
Suite 200
Minnetonka, MN 55343

Chase Credit Card
PO Box 6294
Carol Stream, IL 60197

Crown Asset Management

Agents for Comenity Bank/Wayfair
3100 Breckinridge Blvd.

Suite 725

Duluth, GA 30096

Discover
PO Box 71242
Charlotte, NC 28272

ED Financial
PO Box 36008
Knoxville, TN 37930

Indigo Credit Card
PO Box 23039
Columbus, GA 23039

Jefferson Capital

Dept #6419

PO Box 11407
Birmingham, AL 35246

Jefferson Capital
Dept #6419 PO Box 11407
Birmingham, AL 35246

Jefferson Capital

Dept #6419

PO Box 11407
Birmingham, AL 35246

Jefferson Capital
Dept #6419 PO Box 11407
Birmingham, AL 35246

Jefferson Capital

Dept #6419

PO Box 11407
Birmingham, AL 35246

Jefferson Capital
Dept #6419 PO Box 11407
Birmingham, AL 35246

Loancare
PO Box 8068
Virginia Beach, VA 23450

Paypal Credit Card
PO Box 71718
Philadelphia, PA 19176

Personify Financial
TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 8
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main

Debtor___ Leanna Marie Castillo Document Page 9 of 13 Case number

PO Box 208417
Dallas, TX 75320

Principal
3701 Arco Corporate Dr
Charlotte, NC 28273

RAS Law Offices
561 Executive Dr
Ste 400

lriving, TX 75038

Resurgent Capital Services
PO Box 10497
Greenville, SC 29603

Resurgent Capital Services
po box 10497
Greenville, SC 29603

S & S Recovery
2814 Stage Center Drive
Memphis, TN 38134

University of North Texas
Student Accounting

1155 Union Circle
#310620

Denton, TX 76203

Velocity Investments, LLC
Agents for Upgrade Inc.
PO Box 788

Belmar, NJ 07719

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 9
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main

Debtor__ Leanna Marie Castillo Document Page 10o0f13 Case number

Exhibit A

The debtor will pay $325.00 for first 3 month(s),

$837.00 each month for next 25 month(s)

$955.00 each month for next 13month(s)

1,355.00 each month for the next 19 months for a total paid in base of $60,060.00.

TXEB Local Form 3015-a [eff. 12/2017] Chapter 13 Plan Page 10
Case 24-40047 Doc 23 Filed 05/02/24 Entered 05/02/24 17:36:00 Desc Main
Document Page 11 of 13

Daniel C. Durand III

DURAND & ASSOCIATES, P.C.
522 Edmonds, Suite 101
Lewisville, Texas 75067

(972) 221-5655
durand@durandlaw.com

Attorney for Debtors

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
IN RE: §
§ CASE NO. 24-40047
LEANNA MARIE CASTILLO, §
§ CHAPTER 13
DEBTOR. §
CERTIFICATE OF SERVICE

This is to certify that a copy of the Amended Chapter 13 Plan was served upon all
creditors listed on the attached mailing matrix and Carey D. Ebert, Chapter 13 Standing
Trustee, PO Box 941166, Plano, Texas, 75094-1166, and U.S. Trustee, 110 N. College
Ave., Suite 300, Tyler, Texas, 75702 in accordance with applicable rules of procedure on
this 2nd day of May, 2024.

Respectfully submitted,

DANIEL C. DURAND III
Attorney for Debtor

DURAND & ASSOCIATES, P.C.
522 Edmonds, Suite 101
Lewisville, Texas 75067

(972) 221-5655

(972) 221-9569 Fax

State Bar Card No. 06287570
durand@durandlaw.com

Label Matrix for CASE 2 4:4,004 7 Doc 23

0540-4

Case 24-40047

Eastern District of Texas
Sherman

Thu May 2 17:25:08 CDT 2024

Capital One
PO Box 60511
City of Industry, CA 91716-0511

Capital One Auto Finance, a division of Capi
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118-7901

Central Portfolio Control
10249 Yellow Circle Drive
Suite 200

Minnetonka, MN 55343-9111

Discover
PO Box 71242
Charlotte, NC 28272-1242

Daniel C Durand III
Durand & Associates, P.C.
522 Edmonds, Ste. 101
Lewisville, TX 75067-3622

Lisa L. Evans

Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Freeway, Suite 1000
Dallas, TX 75207-2328

Jefferson Capital

Dept #6419

PO Box 11407

Birmingham, AL 35246-3035

LVNV Funding, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Loancare
PO Box 8068
Virginia Beach, VA 23450-8068

i . Entered 05/02/24 1
iS BOG 2A io

OGHBBIEN

Baltimore, MD 21264-5093

Capital One
PO Box 60519
City of Industry, CA 91716-0519

Capital One, N.A.
4515 N Santa Fe Ave
Oklahoma City, OK 73118-7901

(p) JPMORGAN CHASE BANK NA
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

Discover Bank

Discover Products Inc

PO Box 3025

New Albany, OH 43054-3025

ED Financial
PO Box 36008
Knoxville, TN 37930-6008

Indigo Credit Card
PO Box 23039
Columbus, GA 31902-3039

(p) JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

Lakeview Loan Servicing, LLC

Robertson, Anschutz, Schneid, Crane & Pa
13010 Morris Rd., Suite 450

Alpharetta, GA 30004-2001

Julie Anne Parsons

McCreary Veselka Bragg & Allen PC
PO Box 1269

Round Rock, TX 78680-1269

age 12 of 13

$;939;009 Desc Main

ock & Williams
Agents for Nebraska Furniture Mart
4851 Lyndon B. Johnson Freeway
Dallas, TX 75244-6004

Capital One Auto Finance, a division of Capi
P.0. Box 4360
Houston, TX 77210-4360

Leanna Marie Castillo
5225 Prairie Creek Drive
Flower Mound, TX 75028-2537

Crown Asset Management

Agents for Comenity Bank/Wayfair
3100 Breckinridge Blvd.

Suite 725

Duluth, GA 30096-7605

George Dunn

Robertson, Anschutz, Schneid, Crane & Pa
5601 Executive Drive

Suite 400

Irving, TX 75038-2806

Carey D. Ebert
P, 0. Box 941166
Plano, TX 75094-1166

JPMorgan Chase Bank, N.A,

s/b/m/t Chase Bank USA, N.A.

c/o National Bankruptcy Services, LLC
P.0. Box 9013

Addison, Texas 75001-9013

LAKEVIEW LOAN SERVICING, LLC
LoanCare, LLC

3637 Sentara Way

Virginia Beach, VA 23452-4262

Lewisville ISD

Linebarger Goggan Blair & Sampson, LLP
C/O Lisa Large Evans

2777 North Stemmons Frwy

Suite 1000

Dallas, Tx 75207-2328

Paypal Credit Card
PO Box 71718
Philadelphia, PA 19176-1718
Personify
PO Box 208417
Dallas, TX 75320-8417

Quantum3 Group LLC as agent for
Catholic Health Initiatives

PO Box 788

Kirkland, WA 98083-0788

S & § Recovery
2814 Stage Center Drive
Memphis, TN 38134-4677

(p) HUD OGC REGION VI
307 W SEVENTH ST SUITE 1000
FT WORTH TX 76102-5108

University of North Texas
Student Accounting

1155 Union Circle
#310620

Denton, TX 76203-5017

FinancsiaSe 24-40047 Doc 23

ee 05/02/24 Entered 05/02/24 1436590 ou tes Maine
370

Mente p,-Page 13 of 13

Charlotte, NC 28273-0402

RAS Law Offices
561 Executive Dr
Ste 400

Iriving, TX 75038

The County of Denton, Texas

McCreary Veselka Bragg & Allen, P.C.

c/o Julie Anne Parsons
P.O. Box 1269
Round Rock, TX 78680-1269

US Department of Education
120 N Seven Oaks Drive
Knoxville, TN 37922-2359

Velocity Investments, LLC
Agents for Upgrade Inc.
PO Box 788

Belmar, NJ 07719-0788

AXIOM ACQUISITION VENTURES LLC
PO Box 788
Kirkland, WA 98083-0788

Resurgent Capital Services
PO Box 10497
Greenville, SC 29603-0497

U.S. Attorney General
Department of Justice

Main Justice Building

10th & Constitution Ave., NW
Washington, DC 20530-0001

US Trustee

Office of the U.S. Trustee
110 N. College Ave.

Suite 300

Tyler, TX 75702-7231

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P, 2002 (g) (4).

Chase Credit Card
PO Box 6294
Carol Stream, IL 60197

Jefferson Capital Systems LLC
Po Box 7999
Saint Cloud MN 56302-9617

U.S, Department of Housing and Urban Develop

307 W. 7th St., Suite 1000
Fort Worth, TX 76102

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d) Carey D. Ebert
P. 0. Box 941166
Plano, TX 75094-1166

(d)Resurgent Capital Services
po box 10497
Greenville, SC 29603-0497

(d) Jefferson Capital
Dept. #6419 PO Box 11407
Birmingham, AL 35246-0001

End of Label Matrix

Mailable recipients 43
Bypassed recipients 4
Total 47

(d) Lewisville ISD

Linebarger Goggan Blair & Sampson, LLP

C/O Lisa Large Evans
2777 North Stemmons Frwy
Suite 1000

Dallas, Tx 75207-2328
